           Case 1-15-45585-cec             Doc 99       Filed 03/23/18   Entered 03/23/18 14:34:04



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
                                                                                Chapter 13
MARILYN PADILLA
FERNANDO CASTEDO

Case No.: 15-45585-608

                                                                   CERTIFICATION OF
                           Debtor(s)                               COMPLETED PLAN
---------------------------------------------------------X



         MICHAEL J. MACCO, Chapter 13 Trustee, states that upon information and belief the Debtor(s) has

completed the payments due under the Confirmed Chapter 13 Plan. Accordingly, it is therefore requested

that the Clerk issue a discharge if it determines the Debtor(s) has complied with all of the statutory

requirements for doing so. The Trustee will file a Final Report and Account when all payments to creditors

have been accounted for, and all checks have cleared. The Trustee requests that the Court keep the case

open pending receipt of the Final Report and Account.



Dated: Islandia, New York
       March 23, 2018
                                                             /s/ Michael J. Macco
                                                             MICHAEL J. MACCO
                                                             Chapter 13 Trustee
